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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
SYDNEY BROOKE ROBERTS Case No: 2:22-cv-01699 DJC AC
DAVID TYRONE SAMUEL,
AIMS (A MINOR), Plaintiffs’ Statement of Disputed Facts
DAYS (A MINOR)
Plaintiffs, Date: April 23, 2025
Time: 10:00 a.m.
V. Location: Courtroom 26
Judge: Magistrate Judge Allison Claire
SACRAMENTO HOUSING AND
REDEVELOPMENT AGENCY ET AL.,
Defendants

1) Disputed Fact: SHRA approved Plaintiffs’ reasonable accommodation request in
March 2023.

2) Dispute: SHRA later issued a denial letter on April 4, 2023, showing the
accommodation was not fully approved. This is material because it goes to the core of
Plaintiffs’ reasonable accommodation claim and defeats any assertion that the issue
has been resolved.

3) Evidence: Exhibit Q

4) Disputed Fact: SHRA conducted a timely and adequate informal hearing

regarding the accommodation denial.

PLAINTIFFS’ STATEMENT OF DISPUTED FACTS - |

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5) Dispute: SHRA canceled the hearing due to lack of a hearing officer and failed to
reschedule or provide a written decision. This failure violated 24 C.F.R. § 982.555 and
deprived Plaintiffs of due process.

6) Evidence: Exhibit H

7) Disputed Fact: Plaintiffs failed to participate in the discovery process.

8) Dispute: Plaintiffs initiated and documented multiple requests to schedule a Rule
26(f) conference and provided early disclosures via email.

9) Defendants, by contrast, have obstructed discovery by refusing to schedule a
conference, ignoring basic information requests, and failing to produce key contacts and
documents. This conduct violates Federal Rule 26, Local Rule 240, and undermines the
integrity of the summary judgment process.

10) Evidence: Exhibits B, C, D, R

11) Disputed Fact: SHRA fully addressed all aspects of the November 2022
reasonable accommodation request.

12) Dispute: SHRA failed to address the request for two additional bedrooms; the
denial focused only on policy and did not include individualized review.

13) Evidence: Exhibit F

14) Disputed Fact: Plaintiffs admitted all material facts by failing to respond to RFAs|
15) Dispute: Plaintiffs filed a motion under Rule 36(b) and submitted amended
responses. The Court should allow resolution on the merits.

16) Evidence: Exhibit A

PLAINTIFFS’ STATEMENT OF DISPUTED FACTS - 2

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17) Disputed Fact: SHRA followed HUD regulations in denying the requested
accommodation.

18) Dispute: SHRA based its denial on agency policy, not individualized analysis or
the interactive process as required by the FHA and ADA. See also Duvall v. County of
Kitsap, 260 F.3d 1124, 1139 (9th Cir. 2001).

19) Evidence: Exhibits E, I, K

20) Disputed Fact: There are no genuine disputes of material fact in this case.

21) Dispute: The record shows disputes about whether SHRA provided due process,
acted in retaliation, and denied reasonable accommodations. Summary judgment is
therefore inappropriate.

22) Evidence: All Exhibits A through R

23) Disputed Fact: SHRA adequately communicated about the RA request and
renewal packet.

24) Dispute: SHRA failed to notify Plaintiffs that the 2025 renewal packet was
available, breaking with prior years’ communication practices. This is material to
Plaintiffs’ housing stability.

25) Evidence: Exhibit B

26) Disputed Fact: Plaintiffs lost housing due to their own actions.

27) Dispute: Plaintiffs repeatedly warned SHRA of the consequences of its inaction.
SHRA’'s failure to approve accommodations or process documents timely contributed to
eviction.

28) Evidence: Exhibits A, O, Q

PLAINTIFFS’ STATEMENT OF DISPUTED FACTS - 3

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29) Disputed Fact: SHRA followed an individualized process in denying
accommodations.

30) Dispute: The denial letters contain identical, template-based policy justifications
and do not refer to Plaintiffs’ medical need, disability, or unit suitability. No alternatives
were proposed.

31) Evidence: Exhibits E, F, Q

32) Disputed Fact: SHRA conducted a complete and fair informal hearing on
Plaintiffs’ request for reasonable accommodation.

33) Dispute: Plaintiffs participated in a scheduled hearing on June 2, 2023. During
the session, SHRA abruptly cancelled the hearing without rescheduling or issuing a
decision.

34) This was the second such cancellation and reflects a continuing failure to provide
due process as required under 24 C.F.R. § 982.555. The events were recorded in real
time.

35) Evidence: Exhibit $1, Exhibit S2; Declaration of David Samuel re Exhibit S

36) Disputed Fact: SHRA acted in good faith to resolve Plaintiffs’ request through
the informal hearing process.

37) Dispute: As of October 31, 2023, SHRA still had not rescheduled either of the
informal hearings cancelled in 2022 and 2023. Plaintiffs continued to request resolution
and warned SHRA about the due process implications of their inaction.

38) Evidence: Exhibit T

PLAINTIFFS’ STATEMENT OF DISPUTED FACTS - 4

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39) Disputed Fact: SHRA allowed Plaintiffs to utilize their three-bedroom voucher to
secure housing that met disability-related needs and payment standards.
40) Dispute: In March 2023, Plaintiffs located an approvable three-bedroom unit at
7957 Papago Way that met HUD payment standards and was deemed affordable by
SHRA’s own Affordability Worksheet. Despite this, SHRA voided the RFTA and
attempted to cap the payment well below the standard for the zip code. This action
denied Plaintiffs access to suitable housing without individualized justification.
41) Evidence: Exhibit U1, U2, U3, U4
42) Disputed Fact: SHRA made a good faith effort to expedite Plaintiffs’ housing
process for an approvable unit.
43) Dispute: SHRA explicitly agreed to expedite the processing of the RFTA
submitted for the 7957 Papago Way unit, as documented in communications from April
3, 2023.
44) Despite this agreement, SHRA failed to process the RFTA within 30 days. The
landlord subsequently cancelled the holding agreement, resulting in the loss of housing
that was approvable and met Plaintiffs’ disability-related needs.
45) Evidence: Exhibit U5; Declaration of David Samuel re Exhibit US

Davil Samuel

David Samuel
Date 04/10/2025

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Sydney Roberts
Date 04/10/2025

PLAINTIFFS’ STATEMENT OF DISPUTED FACTS -5

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

Sydney Brooke Roberts,
David Samuel,
A.LMS.,

D.AYSS., PLAINTIFF(S),

Vv.
Sacramento Housing and Redevelopment
Agency, et. al,

DEFENDANT(S).

CASE NUMBER

2:22-cv-01699-DJC AC

PROOF OF SERVICE - ACKNOWLEDGMENT
OF SERVICE

I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of

Sacramento

, State of California, and not a

party to the above-entitled cause. On ___ April 10

,20_ 25 , | served a true copy of

by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for person(s) served. Attach additional pages if necessary.)

Place of Mailing: 3350 Arapaho Way, Antelope, CA 95843

Executed on April 10 ,20__ 25

at_Sacramento , California

Please check one of these boxes if service is made by mail:

Ll I hereby certify that 1 am a member of the Bar of the United States District Court, Central District of

California.

O Thereby certify that I am employed in the office of a member of the Bar of this Court at whose direction the

service was made.

I hereby certify under the penalty of perjury that the foregoing is true and correct.

Barbara McGaryey

Signature of Person Making Service

ACKNOWLEDGEMENT OF SERVICE

, received a true copy of the within document on

Signature Party Served

CV-40 (01/00) PROOF OF SERVICE - ACKNOWLEDGMENT OF SERVICE
